5/3/2021       Case: 1:22-cv-03861 Document       #: 11-11
                                    Yahoo Mail - Incident#    Filed:
                                                           522329       11/14/22
                                                                  is assigned         Page
                                                                              to Justice Grants1Service
                                                                                                 of 25Desk
                                                                                                        PageID #:292


    Incident# 522329 is assigned to Justice Grants Service Desk

    From: justgrants.support@usdoj.gov

    To:      gmshdcomm@ojp.usdoj.gov

    Cc:
    Date: Tuesday, April 27, 2021, 10:36 PM CDT



    Hello,

    The following Incident has been assigned to Justice Grants Service Desk:

     Incident #                      522329
     Summary:                        BJA FY 21 SCA Community Based Reentry Program
     Customer Name:                  Fred Nance
     Description
     I have been trying to submit my documents for this grant solicitation since 6:15 pm (CST). The JustGrants
     System would not allow me to submit my documents. I called the support line at 7:40 pm (CST) and was the
     18th caller. When my call was answered it was approximately 9:15 pm (CST). A message stated JustGrants
     was experiencing a system error. This is crazy. I cannot submit my grant application. There is nothing wrong
     with my grant application. I am attaching a copy of it, which is not all of the grant application. This was all the
     system would permit printing.

     I kept getting the message "The Federal Estimated Funding (Federal Share) in the Standard Applicant
     Information screen does not match the Federal Funds in the Consolidated Category Summary screen. IT DOES
     MATCH!!!

     PLEASE SUBMIT MY GRANT APPLICATION!!! YOUR JUSTGRANTS SYSTEM IS NOT WORKING!!! THE
     JUSTGRANTS SYSTEM WILL NOT ALLOW ME TO SUBMIT MY GRANT APPLICATION!!! I AM SENDING
     THIS MESSAGE AT 10:34 PM (CST).

     /s/Dr. Fred Nance Jr.
     Ph.D. Health & Human Services
     Social Policy Analysis and Planning



     NOTICE: If you have received this e-mail message from Dr. Fred Nance Jr., the e-mail message, and any and
     all attachments transmitted with it are intended solely for the use of the addressee and may contain legally
     privileged and confidential information. If the reader of this message is not the intended recipient, or an
     employee or agent responsible for delivering this email message to the intended recipient, you are hereby
     notified that any dissemination, distribution, copying, or other use of the message or its attachments is strictly
     prohibited. If you have received this email message and its attachments if any, in error, please notify the sender
     immediately by replying to the message and please delete it from your computer. Thank you.


    JustGrants Service Desk
    U.S. Department of Justice (DOJ)
    Phone: 1-833-872-5175
    Email: JustGrants.Support@usdoj.gov
    Service Desk Hours:
    Monday - Friday 5am-9pm
    Saturday, Sunday, and Federal holidays 9am-5pm




                                                                                                                           1/1
4/27/2021           Case: 1:22-cv-03861 Document #: 11-11 Filed:  11/14/22 Page 2 of 25 PageID #:293
                                                            Grant Package




   Errors:
      Federal Estimated Funding: The Federal Estimated Funding (Federal Share) in the Standard Applicant Information screen does not match the Federal Funds in the Consolidated
      Category Summary screen.




         Standard Applicant Information

              Project Information

                    Project Title                                             Proposed Project Start Date                                     Proposed Project End Date
                    Trenstr Project                                           10/1/21                                                         9/30/24
                    Federal Estimated Funding (Federal Share)                 Applicant Estimated Funding (Non-Federal                        Program Income Estimated Funding
                    750000                                                    Share)                                                          750000
                    Total Estimated Funding                                   ——

                    750000



                     Areas Affected by Project (Cities, Counties, States, etc.)


                     Chicago

                     Cook County

                     Illinois




              Type Of Applicant

               Type of Applicant 1: Select Applicant Type:
               M: Nonprofit with 501C3 IRS Status (Other than Institution of Higher Education)

               Type of Applicant 2: Select Applicant Type:
               ——

               Type of Applicant 3: Select Applicant Type:
               ——

               Other (specify):
               ——




              Application Submitter Contact Information

                    Application POC Prefix Name
                    Dr.

                    Application POC First Name                                Application POC Middle Name                                     Application POC Last Name
                    Fred                                                      Lee                                                             Nance

                    Application POC Suffix Name
                    Jr.




                    Organizational Affiliation                                Title                                                       Email ID
                    ——                                                        President & CEO                                             f

                    Phone Number                                              Fax Number

https://justgrant                     rweb/PRAuth/app/JGITS_/3yZ6Bxxi_lpDExTOT4XnAjzjAXmVNevW*/!TABTHREAD1?pyActivity=PrintWork&Prompt=fal…                                        1/13
5/3/2021     Case: 1:22-cv-03861 Document  #:Mail
                                       Yahoo  11-11      Filed:
                                                  - Incident#    11/14/22
                                                              522349           Pagefor3you
                                                                     has been logged    of 25 PageID #:294


    Incident# 522349 has been logged for you

    From: justgrants.support@usdoj.gov

    To:

    Date: Wednesday, April 28, 2021, 06:24 AM CDT



    Greetings,

    Thank you for contacting the Justice Grants Service Desk.
    We have recorded your request for service and established incident # 522349 for tracking and future reference.
     Description
     Fred Nance Jr. is the Application Submitter wanted to report he was not able to submit his application due to the
     error Federal Estimated funding (federal share) in the Standard application screen does not match the federal
     funds in the consolidated category summary screen.. Stated numbers do match. Also mentioned that he
     notified the helpdesk at 6:30pm and was on hold for 2.5 hours and received a message currently having system
     problem and to call back. Stated he currently have a incident number 522329

    If you need additional assistance please contact the Justice Grants Service Desk at 1-833-872-5175
    Thank you,

    JustGrants Service Desk
    U.S. Department of Justice (DOJ)
    Phone: 1-833-872-5175
    Email: JustGrants.Support@usdoj.gov
    Service Desk Hours:
    Monday - Friday 5am-9pm
    Saturday, Sunday, and Federal holidays 9am-5pm




                                                                                                                         1/1
5/3/2021     Case: 1:22-cv-03861Yahoo
                                 Document         #: 11-11
                                      Mail - Incident# 522329 Filed:
                                                              - Waiting11/14/22      Pageto4resolve
                                                                       for more information   of 25thePageID
                                                                                                       issue #:295


    Incident# 522329 - Waiting for more information to resolve the issue

    From: ojp.itservicedesk@usdoj.gov

    To:

    Date: Wednesday, April 28, 2021, 09:31 AM CDT



     Please note that the Escalation Clock has been Paused for the following Incident:
     Incident #                    522329
     Summary:                           BJA FY 21 SCA Community Based Reentry Program
     Customer Name:                     Fred Nance
     Location:
     Priority:                          3
     Status:                            Waiting for Customer
     Category:                          JustGrants
     Associate’s name:             Al Roddy
     Description
     I have been trying to submit my documents for this grant solicitation since 6:15 pm (CST). The JustGrants
     System would not allow me to submit my documents. I called the support line at 7:40 pm (CST) and was the
     18th caller. When my call was answered it was approximately 9:15 pm (CST). A message stated JustGrants
     was experiencing a system error. This is crazy. I cannot submit my grant application. There is nothing wrong
     with my grant application. I am attaching a copy of it, which is not all of the grant application. This was all the
     system would permit printing.

     I kept getting the message "The Federal Estimated Funding (Federal Share) in the Standard Applicant
     Information screen does not match the Federal Funds in the Consolidated Category Summary screen. IT DOES
     MATCH!!!

     PLEASE SUBMIT MY GRANT APPLICATION!!! YOUR JUSTGRANTS SYSTEM IS NOT WORKING!!! THE
     JUSTGRANTS SYSTEM WILL NOT ALLOW ME TO SUBMIT MY GRANT APPLICATION!!! I AM SENDING
     THIS MESSAGE AT 10:34 PM (CST).

     /s/Dr. Fred Nance Jr.
     Ph.D. Health & Human Services
     Social Policy Analysis and Planning



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     privileged and confidential information. If the reader of this message is not the intended recipient, or an
     employee or agent responsible for delivering this email message to the intended recipient, you are hereby
     notified that any dissemination, distribution, copying, or other use of the message or its attachments is strictly
     prohibited. If you have received this email message and its attachments if any, in error, please notify the sender
     immediately by replying to the message and please delete it from your computer. Thank you.




                                                                                                                           1/1
4/28/2021     Case: 1:22-cv-03861
                              Yahoo Document         #: 11-11
                                    Mail - Re: Fw: Incident#     Filed:
                                                             522329       11/14/22
                                                                    - BJA FY          Page 5Based
                                                                             21 SCA Community of 25 PageID
                                                                                                  Reentry       #:296
                                                                                                          Program




     Re: Fw: Incident# 522329 - BJA FY 21 SCA Community Based Reentry Program

     From: grants@ncjrs.gov

     To:

     Date: Wednesday, April 28, 2021, 11:00 AM CDT



     Dear Fred,

     Thank you for contacting the Response Center.

     This e-mail is in reference to the technical issues you experienced while attempting to apply for the Second Chance Act Community-
     Based Reentry Program (BJA-2021-58002).

     Applicants that experience unforeseen JustGrants technical issues beyond their control, which prevent them from submitting their
     application by the deadline, must contact the JustGrants User Support (https://justicegrants.usdoj.gov/user-support) or the SAM Help
     Desk (Federal Service Desk) at https://www.fsd.gov/gsafsd_sp to report the technical issue and receive a tracking number. The
     applicant must e-mail the OJP Response Center at grants@ncjrs.gov by 11:59 pm Eastern on April 28, 2021 (within 24 hours
     after the application deadline) to request approval to submit its application after the deadline. The e-mail to the OJP Response
     Center must include the following:

     • Description of the technical difficulties experienced

     • Complete timeline of the applicant’s submission efforts

     • Complete grant application (including all attachments)

     • Applicant’s DUNS number

     • Any JustGrants or SAM tracking number(s)

     Note: OJP does not automatically approve requests to submit a late application. After OJP reviews the applicant’s request, and
     contacts the JustGrants or SAM Help Desk to verify the reported technical issues, OJP will inform the applicant whether the request
     to submit a late application has been approved or denied. If OJP determines that the untimely application submission was due to the
     applicant’s failure to follow all required procedures, OJP will deny the applicant’s request to submit its application.

     The following conditions generally are insufficient to justify late submissions:

     • Failure to register in SAM or JustGrants in sufficient time.

     • Failure to follow JustGrants instructions on how to register and apply as posted on its website.

     • Failure to follow each instruction in the OJP solicitation.

     • Technical issues with the applicant’s computer or information technology environment, such as issues with firewalls or browser
     incompatibility.

     Please let us know if you have any further questions.

     Thank you,

     Ken Molter
     Customer Service Team Leader

     ----------------------------------
     Learn About Submitting an Application via JustGrants!


                                                                                                                                            1/3
4/28/2021     Case: 1:22-cv-03861
                              Yahoo Document         #: 11-11
                                    Mail - Re: Fw: Incident#     Filed:
                                                             522329       11/14/22
                                                                    - BJA FY          Page 6Based
                                                                             21 SCA Community of 25 PageID
                                                                                                  Reentry       #:297
                                                                                                          Program




     Please visit https://justicegrants.usdoj.gov/training-resources/justgrants-training/application-submission for additional information
     on the Application Submission Process in JustGrants. For the latest information and updates on DOJ’s roll out of new grants
     management and payment management systems, sign up for JusticeGrants Updates emails from the COPS Office, OJP, and OVW at
     the following link:

     https://public.govdelivery.com/accounts/USDOJOJP/subscriber/new?topic_id=USDOJOJP_586
     ******************************************************
     Disclaimer: The enclosed response may include referrals to non-Federal Government resources.
     The resources, and the information contained therein, are only as reliable and complete as their originating source.
     Responsibility for the quality/accuracy of the information rests with the original source.


     On 4/28/21 11:05 AM, Ph.D. Fred Nance Jr. wrote:

               Good morning. I received this information, which should have been disseminated so
               grant applicants for the BJA FY 21 Second Chance Act Community-Based Reentry
               Program would be aware of possible glitches in the system. Due to this glitch I
               experienced, I could not submit my grant application on April 27, 2021. Grant applicants
               not knowing this glitch was there are being disenfranchised and put at a disadvantaged
               for having their grant applications reviewed by BJA and Peer Reviewers. In the
               message below, it reports BJA "may" open grant applications due to this glitch. How
               can BJA not open up a grant application processes for this glitch, especially in my case
               because I submitted a complaint, incident #522329, before the deadline has passed?
               This is the information I submitted on April 27, 2021 before the grant application
               deadline.

               I submitted this message last night, April 27, 2021, regarding an JustGrants error
               message and system problems issue. I was given incident #522329. I was informed
               there is a glitch in your system as to the error message I received regarding the
               submission of my grant application. Please investigate and open my submission grant
               page up so I can submit my grant application for GRANT                . Thank you.

               This is the message I sent last evening, incident #522329:

               I have been trying to submit my documents for this grant solicitation since 6:15 pm
               (CST). The JustGrants System would not allow me to submit my documents. I called
               the support line at 7:40 pm (CST) and was the 18th caller. When my call was answered
               it was approximately 9:15 pm (CST). A message stated JustGrants was experiencing a
               system error. This is crazy. I cannot submit my grant application. There is nothing wrong
               with my grant application. I am attaching a copy of it, which is not all of the grant
               application. This was all the system would permit printing.

               I kept getting the message "The Federal Estimated Funding (Federal Share) in the
               Standard Applicant Information screen does not match the Federal Funds in the
               Consolidated Category Summary screen. IT DOES MATCH!!!

               PLEASE SUBMIT MY GRANT APPLICATION!!! YOUR JUSTGRANTS SYSTEM IS
               NOT WORKING!!! THE JUSTGRANTS SYSTEM WILL NOT ALLOW ME TO SUBMIT
               MY GRANT APPLICATION!!! I AM SENDING THIS MESSAGE AT 10:34 PM (CST).


               /s/Dr. Fred Nance Jr.
               Ph.D. Health & Human Services


                                                                                                                                             2/3
4/28/2021   Case: 1:22-cv-03861
                            Yahoo Document         #: 11-11
                                  Mail - Re: Fw: Incident#     Filed:
                                                           522329       11/14/22
                                                                  - BJA FY          Page 7Based
                                                                           21 SCA Community of 25 PageID
                                                                                                Reentry       #:298
                                                                                                        Program


             Social Policy Analysis and Planning



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             message, and any and all attachments transmitted with it are intended solely for the
             use of the addressee and may contain legally privileged and confidential information. If
             the reader of this message is not the intended recipient, or an employee or agent
             responsible for delivering this email message to the intended recipient, you are hereby
             notified that any dissemination, distribution, copying, or other use of the message or its
             attachments is strictly prohibited. If you have received this email message and its
             attachments if any, in error, please notify the sender immediately by replying to the
             message and please delete it from your computer. Thank you.


             ----- Forwarded Message -----
             From: JustGrants.Support@usdoj.gov <justgrants.support@usdoj.gov>
             To: "                                                      >
             Sent: Wednesday, April 28, 2021, 09:31:23 AM CDT
             Subject: Incident# 522329 - BJA FY 21 SCA Community Based Reentry Program


             DUNS #
             Award #:



             Hello Dr. Nance,

              Per our phone conversation, since the application deadline has passed for this solicitation, please contact
             the Response Center with this ticket #522329 to let them know you missed the application deadline. BJA
             will contact you if they determine that this solicitation should be reopened. The attached instructions will
             assist you with entering the match amount correctly so you can submit this application if it is reopened by
             BJA. If you have any additional match amount issues if the solicitation is reopened, you may open a new
             Helpdesk ticket so we can assist. Please let me know if you have any questions before this ticket is closed.




             Al Roddy
             JustGrants Service Desk
             U.S. Department of Justice (DOJ)
             Phone: 1-833-872-5175
             Email: JustGrants.Support@usdoj.gov
             Service Desk Hours:
             Monday - Friday 5am-9pm
             Saturday, Sunday, and Federal holidays 9am-5pm




                                                                                                                            3/3
4/28/2021    Case: 1:22-cv-03861 Document #: Mail
                                       Yahoo 11-11       Filed:
                                                  - Incident#    11/14/22
                                                              522698 has been Page    8 you
                                                                              logged for of 25 PageID #:299


    Incident# 522698 has been logged for you

    From: JustGrants.Support@usdoj.gov (justgrants.support@usdoj.gov)

    To:

    Date: Wednesday, April 28, 2021, 12:39 PM CDT



    Greetings,

    Thank you for contacting the Justice Grants Service Desk.
    We have recorded your request for service and established incident # 522698 for tracking and future reference.
     Description
     Good afternoon. I received the JustGrants document attached to regarding "Applicants that experience
     unforeseen JustGrants technical issues beyond their control, which prevent them from submitting their
     application by the deadline, must contact the JustGrants User Support...." Therefore, here is my statement.
     Pursuant to the document attached please send me a tracking number.

     I received information, which should have been disseminated so grant applicants for the BJA FY 21 Second
     Chance Act Community-Based Reentry Program would be aware of possible glitches in the system. Due to this
     glitch I experienced, I could not submit my grant application on April 27, 2021. Grant applicants not knowing this
     glitch was there are being disenfranchised and put at a disadvantaged for having their grant applications
     reviewed by BJA and Peer Reviewers. In the message below, it reports BJA "may" open grant applications due
     to this glitch. How can BJA not open up a grant application processes for this glitch, especially in my case
     because I submitted a complaint, incident #522329, before the deadline has passed? This is the information I
     submitted on April 27, 2021 before the grant application deadline.

     I submitted this message last night, April 27, 2021, regarding an JustGrants error message and system
     problems issue. I was given incident #522329. I was informed there is a glitch in your system as to the error
     message I received regarding the submission of my grant application. Please investigate and open my
     submission grant page up so I can submit my grant application for GRANT               . Thank you.

     This is the message I sent last evening, incident #522329:

     I have been trying to submit my documents for this grant solicitation since 6:15 pm (CST). The JustGrants
     System would not allow me to submit my documents. I called the support line at 7:40 pm (CST) and was the
     18th caller. When my call was answered it was approximately 9:15 pm (CST). A message stated JustGrants
     was experiencing a system error. This is crazy. I cannot submit my grant application. There is nothing wrong
     with my grant application. I am attaching a copy of it, which is not all of the grant application. This was all the
     system would permit printing.

     I kept getting the message "The Federal Estimated Funding (Federal Share) in the Standard Applicant
     Information screen does not match the Federal Funds in the Consolidated Category Summary screen. IT DOES
     MATCH!!!

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     JUSTGRANTS SYSTEM WILL NOT ALLOW ME TO SUBMIT MY GRANT APPLICATION!!! I AM SENDING
     THIS MESSAGE AT 10:34 PM (CST).


     /s/Dr. Fred Nance Jr.
     Ph.D. Health & Human Services
     Social Policy Analysis and Planning



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     all attachments transmitted with it are intended solely for the use of the addressee and may contain legally


                                                                                                                           1/2
4/28/2021    Case: 1:22-cv-03861 Document #: Mail
                                       Yahoo 11-11       Filed:
                                                  - Incident#    11/14/22
                                                              522698 has been Page    9 you
                                                                              logged for of 25 PageID #:300

     privileged and confidential information. If the reader of this message is not the intended recipient, or an
     employee or agent responsible for delivering this email message to the intended recipient, you are hereby
     notified that any dissemination, distribution, copying, or other use of the message or its attachments is strictly
     prohibited. If you have received this email message and its attachments if any, in error, please notify the sender
     immediately by replying to the message and please delete it from your computer. Thank you.

    If you need additional assistance please contact the Justice Grants Service Desk at 1-833-872-5175
    Thank you,

    JustGrants Service Desk
    U.S. Department of Justice (DOJ)
    Phone: 1-833-872-5175
    Email: JustGrants.Support@usdoj.gov
    Service Desk Hours:
    Monday - Friday 5am-9pm
    Saturday, Sunday, and Federal holidays 9am-5pm




                                                                                                                          2/2
4/30/2021   Case: 1:22-cv-03861 Document #: 11-11  Filed:
                                               Yahoo         11/14/22
                                                     Mail - JustGrants     Page 10 of 25 PageID #:301
                                                                       Glitches




     JustGrants Glitches

     From: Dr. Fred L Nance Jr., Ph.D.                    )

     To:


     Cc:

     Date: Thursday, April 29, 2021, 01:56 PM CDT



     Congressman Davis:

     Good afternoon. I thought it would be important for me to share some information I was given
     regarding the glitches in JustGrants. Mr. Al Roddy, an Executive specialist (17 years) with
     JustGrants, shared the attached document with me. Mr. Roddy informed me many Second
     Chance Act grant applicants are having problems submitting their information because of the
     JustGrants glitches in their system; most notably, JustGrants is not informing grant applicants. Mr.
     Roddy stated to me he pulled my "incident report" from the system because he knew me. I did not
     know where he met me or how he knew me until this morning. As I was going through my incident
     reports to JustGrants, I came across an incident report in October of 2020 on my Whistleblower
     Act claims against DOJ. Mr. Roddy was assigned to my incident report. Mr. Roddy says he had a
     discussion with me. I do not remember it.

     The issue I have attempting to submit my grant application was due to budget items not being
     presented appropriately in the JustGrants system, which was not my error. The glitch in their
     system caused the error. JustGrants staff have working knowledge of this glitch and failed to
     present the issues to grant applicants. Grant applicants can appeal, but how many will bother to
     go through the processes. The document attached, which was given to me, will solve my
     problems on appeal.

     I have questions: How many grant applicants were disenfranchised and put at a disadvantaged
     due to glitches in the JustGrants system that JustGrants staff know exist? Since you are the
     principle author and designer of the Second Chance Act, how will your office handle this issue? I
     am going to stay in my lane on this one, no social media; as long as JustGrants re-opens my
     portal and allows me to submit my grant application. The glitch that caused the rejection of my
     grant application is embodied in the attachment here. I know now why the JustGrants system did
     not allow my grant application. Second Chance Act grant applicants are not aware of how to get
     around this budget glitch without this document.

     On another note: I received an invite today to be a peer reviewer for the grant I am submitting. Of
     course, I accepted. My plan is to discuss this glitch issue during the peer consensus call that
     takes place after grading grant applications. I will not give up my source regarding this document.
     I will discuss it in an abstract sort of way on how to make things better for grant applicants and
     JustGrants. I know I cannot save the world, but I can damn sure try to save a few. Excuse my
     language. If you want to talk about this issue, I can verbally explain and walk you through the
     nonsense.

     /s/Dr. Fred Nance Jr.
     Ph.D. Health & Human Services
     Social Policy Analysis and Planning


                                                                                                            1/2
4/30/2021   Case: 1:22-cv-03861 Document #: 11-11  Filed:
                                               Yahoo         11/14/22
                                                     Mail - JustGrants     Page 11 of 25 PageID #:302
                                                                       Glitches




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     and may contain legally privileged and confidential information. If the reader of this message is
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     to the intended recipient, you are hereby notified that any dissemination, distribution, copying, or
     other use of the message or its attachments is strictly prohibited. If you have received this email
     message and its attachments if any, in error, please notify the sender immediately by replying to
     the message and please delete it from your computer. Thank you.

            4.28.21 Budget Summary Instructions for Match 4.26.21.pdf
            135.5kB




                                                                                                            2/2
 Case: 1:22-cv-03861 Document #: 11-11 Filed: 11/14/22 Page 12 of 25 PageID #:303



                    Consolidated Budget Summary Brief Instructions for OJP Match

Applicants should first enter their budget costs in each category to arrive at a total project cost over the
requested number of years. Total project costs entered across categories should include any anticipated
federal funding, match, or program income.

At the very end of the budget in the consolidated budget, the applicants will then indicate the portion of
the total project costs being requested as federal funding, match, and program income. The federal
funds, match amount, and program income amount are all the proposed portion/percentage of the total
project costs. (In other words, Federal Funds + Match Amount + Program Income Amount = Total
Project Costs in the Consolidated Budget Summary.)

There are two different potential views applicants may see to enter match into the consolidated
budget summary: 1. OJP Multi-year consolidated budget summary that has different match amounts
by years (page 2 below) or 2. OJP Multi-year consolidated budget summary that is just entered
once/not different match amounts by years (page 3 below).

After completing this budget detail summary, please confirm that the following final values entered in
this section are identical to those entered in the corresponding estimated cost section of the Standard
Applicant Information. Specifically, the following must be equivalent. If they are not, you will not be
able to submit this application until they are updated to be equivalent (and could be updated in either
the standard applicant information or in the budget).

          Standard Applicant Information               Equals          Budget Summary

 Total Estimated Funding                                  =     Total Project Costs

 Federal Estimated Funding (federal share)                =     Federal Funds

 Applicant Estimated Funding (non-federal share)          =     Match Amount

 Program Income Estimated Funding                         =     Program Income Amount

View of the fields in the Consolidated Budget Summary that must match the federal estimated funding,
applicant estimated funding, and program income estimated funding in the standard applicant.
 Case: 1:22-cv-03861 Document #: 11-11 Filed: 11/14/22 Page 13 of 25 PageID #:304



                                                 View #1:



OJP Multi-year consolidated budget summary (different match amounts by years).



If an applicant sees a view like this, then the applicant enters a match amount for each year of the
budget.

If this is the view that applicants are seeing, then they should enter the match within each year
(highlighted fields). The form will automatically total the match portion for the full project automatically
(where it says “Match Amount” with the $30,000 highlighted above). That “match amount” for the full
project costs ($30,000 below) will need to equal the value entered into the Applicant Estimated Funding
(non-federal share) in the Standard Applicant Information section of the application in order to submit.
 Case: 1:22-cv-03861 Document #: 11-11 Filed: 11/14/22 Page 14 of 25 PageID #:305



                                               View #2:

OJP Multi-year consolidated budget summary to enter match.



If the applicant sees a view like this, they only enter the match amount one time for the total project
costs. If this is the view that applicants are seeing, then they should enter the match directly in the
match amount (highlighted below). That “match amount” for the full project costs will need to equal the
value entered into the Applicant Estimated Funding (non-federal share) in the Standard Applicant
Information section of the application in order to submit.
4/28/2021   Case: 1:22-cv-03861      Document
                      Yahoo Mail - General           #: 11-11 Filed:
                                           Services Administration Federal -11/14/22
                                                                            Your Incident Page  15 of 25 PageID
                                                                                          INC-GSAFSD5116394         #:306
                                                                                                            has comments added




     General Services Administration Federal - Your Incident INC-GSAFSD5116394 has comments
     added

     From: General Services Administration Federal (gditshared@servicenowservices.com)

     To:
     Date: Wednesday, April 28, 2021, 01:10 PM CDT




     INC-GSAFSD5116394 - JustGrants Unforeseen
     Technical Issues
     Comments:

     2021-04-28 14:09:48 EDT - Savannah Rogers                                          Additional comments
     Thank you for contacting the Federal Service Desk. I will be happy to assist you with your issue
     today. The issue you are having is with just grants and our help desk does not assist with that
     website therefore you will need to reach out to just grants. You registration in sam is showing
     active therefore the issue is with their site.
     Knowledge article KB0016313: How do I find the status of an entity registration in SAM?
     Your Incident number is INC-GSAFSD5116394
     Please visit FSD.gov for instant access for information that may assist you.
     Thank you,
     Federal Service Desk
     You can view all the details of the incident by following the link below:

      Take me to the Incident


     Thank you.

     Ref:MSGPROD9057289_X74Q44Q0pDb5Rv9u




                                                                                                                                 1/1
4/28/2021   Case: 1:22-cv-03861      Document
                       Yahoo Mail - General Services #: 11-11 Filed:
                                                     Administration Federal11/14/22      Page
                                                                           - Your incident      16 of 25 PageID
                                                                                           INC-GSAFSD5116394 has been#:307
                                                                                                                     resolved




     General Services Administration Federal - Your incident INC-GSAFSD5116394 has been
     resolved

     From: General Services Administration Federal (gditshared@servicenowservices.com)

     To:
     Date: Wednesday, April 28, 2021, 01:10 PM CDT




     INC-GSAFSD5116394 - JustGrants Unforeseen
     Technical Issues
     The incident will automatically close in 3 days

     Summary details
     Resolved by: Savannah Rogers
     Resolved notes: : Informed AEU their registration is sam is active therefore they will need to reach
     out to just grants help desk for them to resolve the issue
     You can view all the details of the incident by following the link below:

      Take me to the Incident


     Thank you.




     Unsubscribe | Notification Preferences
     Ref:MSGPROD9057290_gvM76kDvBM8O8w4Q




                                                                                                                                1/1
5/3/2021    Case: 1:22-cv-03861 Document
                             Yahoo Mail - Request#: 11-11ToFiled:
                                                  Approval        11/14/22
                                                           Submit Grant          Page
                                                                        Application       17 Deadline
                                                                                    After The of 25 PageID
                                                                                                      1st Email #:308




     Request Approval To Submit Grant Application After The Deadline 1st Email

     From: Dr. Fred L Nance Jr., Ph.D. (                          )

     To:    grants@ncjrs.gov

     Cc:
     Date: Wednesday, April 28, 2021, 04:16 PM CDT



     Good afternoon. C.L.I.C.K. Services, NFP's accountant for this grant application has a full-time
     job. This accountant will need to review the "Word" document issued by BJA Help Desk that is
     attached to see how it works with our grant application. Pursuant to the attached Response
     Center document, C.L.I.C.K. Services, NFP submits the following and possibly multiple emails
     because of the Response Center wanting the complete grant application documents/attachments:

     Description of the technical difficulties experienced and Timeline of Applicant's Submission Efforts
     -

     I received information, which should have been disseminated so grant applicants for the BJA FY
     21 Second Chance Act Community-Based Reentry Program would be aware of possible glitches
     in the system. Due to this glitch I experienced, I could not submit my grant application on April 27,
     2021. Grant applicants not knowing this glitch was there are being disenfranchised and put at a
     disadvantaged for having their grant applications reviewed by BJA and Peer Reviewers. In the
     message below, it reports BJA "may" open grant applications due to this glitch. How can BJA not
     open up a grant application processes for this glitch, especially in my case because I submitted a
     complaint, incident #522329, before the deadline has passed? This is the information I submitted
     on April 27, 2021 before the grant application deadline.

     I submitted this message last night, April 27, 2021, regarding an JustGrants error message and
     system problems issue. I was given incident #522329. I was informed there is a glitch in your
     system as to the error message I received regarding the submission of my grant application.
     Please investigate and open my submission grant page up so I can submit my grant application
     for GRANT             . Thank you.

     This is the message I sent last evening, incident #522329:

     I have been trying to submit my documents for this grant solicitation since 6:15 pm (CST). The
     JustGrants System would not allow me to submit my documents. I called the support line at 7:40
     pm (CST) and was the 18th caller. When my call was answered it was approximately 9:15 pm
     (CST). A message stated JustGrants was experiencing a system error. This is crazy. I cannot
     submit my grant application. There is nothing wrong with my grant application. I am attaching a
     copy of it, which is not all of the grant application. This was all the system would permit printing.

     I kept getting the message "The Federal Estimated Funding (Federal Share) in the Standard
     Applicant Information screen does not match the Federal Funds in the Consolidated Category
     Summary screen." IT DOES MATCH!!!

     PLEASE SUBMIT MY GRANT APPLICATION!!! YOUR JUSTGRANTS SYSTEM IS NOT
     WORKING!!! THE JUSTGRANTS SYSTEM WILL NOT ALLOW ME TO SUBMIT MY GRANT
     APPLICATION!!! I AM SENDING THIS MESSAGE AT 10:34 PM (CST).


                                                                                                                        1/2
5/3/2021   Case: 1:22-cv-03861 Document
                            Yahoo Mail - Request#: 11-11ToFiled:
                                                 Approval        11/14/22
                                                          Submit Grant          Page
                                                                       Application       18 Deadline
                                                                                   After The of 25 PageID
                                                                                                     1st Email #:309




     Complete Grant Application attached
     Duns Number -
     New JustGrants Tracking Number - Incident #522698
     SAM Tracking Number - INC-GSAFSD5116394

     /s/Dr. Fred Nance Jr.
     Ph.D. Health & Human Services
     Social Policy Analysis and Planning



     NOTICE: If you have received this e-mail message from Dr. Fred Nance Jr., the e-mail message,
     and any and all attachments transmitted with it are intended solely for the use of the addressee
     and may contain legally privileged and confidential information. If the reader of this message is
     not the intended recipient, or an employee or agent responsible for delivering this email message
     to the intended recipient, you are hereby notified that any dissemination, distribution, copying, or
     other use of the message or its attachments is strictly prohibited. If you have received this email
     message and its attachments if any, in error, please notify the sender immediately by replying to
     the message and please delete it from your computer. Thank you.

           4.28.21 Budget Summary Instructions for Match 4.26.21.docx
           240.7kB
           Trenstr Project Abstract.pdf
           106.2kB
           Trenstr Project Proposal.pdf
           820kB
           Trenstr Project Timeline.pdf
           304.7kB

           4.28.21 JustGrants and SAM Incident Reports.pdf
           194.7kB

           Logic Model Abstract and Detail.pdf
           407.5kB

           Resumes.pdf
           1MB
           Trenstr Exhibits.pdf
           3.6MB
           Mentoring and Trauma Curricula.pdf
           3.5MB
           Other MOUs.pdf
           4.4MB




                                                                                                                       2/2
5/3/2021     Case: 1:22-cv-03861 Document #: Mail
                                       Yahoo 11-11      Filed:
                                                  - Incident#    11/14/22
                                                              524631 has beenPage    19youof 25 PageID #:310
                                                                             logged for




    Incident# 524631 has been logged for you

    From: justgrants.support@usdoj.gov

    To:

    Date: Monday, May 3, 2021, 07:14 AM CDT



    Greetings,

    Thank you for contacting the Justice Grants Service Desk.
    We have recorded your request for service and established incident # 524631 for tracking and future reference.
     Description
     While under extreme duress, anxiety, and stress, C.L.I.C.K. Services, NFP (C.L.I.C.K.) is upgrading and filing
     this complaint or "incident" pursuant to the Whistleblower Act. C.L.I.C.K. is filing these incident reports, again,
     under the protection of the Whistleblower Act to prevent any retaliatory acts or nature thereof against this entity.
     Exhibit A clearly shows why C.L.I.C.K.'s grant application was denied submission. Exhibit B clearly shows how
     this JustGrants glitch/error could be corrected, which should have been provided to all grant applicants to avoid
     what happened to C.L.I.C.K. JustGrants was aware of this particular glitch and did nothing to prevent or correct
     it.

     NCJRS sent C.L.I.C.K. the attached exhaustive list of things (labeled 4/30/21) needed because of what they call
     "technical" errors. Is NCJRS suggesting or stating C.L.I.C.K. caused or is responsible for these "technical"
     errors? NCJRS requested a list of things as if they are investigating C.L.I.C.K. instead of fixing the JustGrants
     system. C.L.I.C.K. will not be the scapegoat in this mater. This is a public interest matter/case.

     The email chain attached demonstrates C.L.I.C.K.'s duty reporting the error/glitch in a timely manner and its
     attempt to correct the error, if given a chance, since obtaining Exhibit B. Yet, since reporting this glitch/error,
     JustGrants is acting like this is rocket science; sending C.L.I.C.K. through this lengthy processes of proving the
     glitch. C.L.I.C.K. needs to get this nonsense off its desk so it can concentrate on other business matters.
     Wherefore, C.L.I.C.K. submits the following documentation attached to support its claims and request its grant
     application portal re-opened as soon as possible so the processes of submitting is completed. Thank you.

     /s/Dr. Fred Nance Jr.
     Ph.D. Health & Human Services
     Social Policy Analysis and Planning



     NOTICE: If you have received this e-mail message from Dr. Fred Nance Jr., the e-mail message, and any and
     all attachments transmitted with it are intended solely for the use of the addressee and may contain legally
     privileged and confidential information. If the reader of this message is not the intended recipient, or an
     employee or agent responsible for delivering this email message to the intended recipient, you are hereby
     notified that any dissemination, distribution, copying, or other use of the message or its attachments is strictly
     prohibited. If you have received this email message and its attachments if any, in error, please notify the sender
     immediately by replying to the message and please delete it from your computer. Thank you.

    If you need additional assistance please contact the Justice Grants Service Desk at 1-833-872-5175
    Thank you,

    JustGrants Service Desk
    U.S. Department of Justice (DOJ)
    Phone: 1-833-872-5175
    Email: JustGrants.Support@usdoj.gov
    Service Desk Hours:
    Monday - Friday 5am-9pm
    Saturday, Sunday, and Federal holidays 9am-5pm




                                                                                                                            1/1
5/8/2021    Case: 1:22-cv-03861 Document #: Yahoo
                                            11-11MailFiled:   11/14/22
                                                      - Incident# 524631 is Page
                                                                            closed. 20 of 25 PageID #:311




    Incident# 524631 is closed.

    From: JustGrants.Support@usdoj.gov (justgrants.support@usdoj.gov)

    To:

    Date: Wednesday, May 5, 2021, 02:45 PM CDT



    Greetings,

    Your incident# 524631 has been closed.

    If you need further assistance, please do not reply to this email. Instead, please open a new incident at one of
    the contact points listed below.
    We are committed to providing excellent customer service. Customer feedback is an essential component of our
    continuous improvement plan.
    Please provide your feedback by completing the attached customer satisfaction survey.

    Please click here to complete the customer satisfaction survey.

     Description
     While under extreme duress, anxiety, and stress, C.L.I.C.K. Services, NFP (C.L.I.C.K.) is upgrading and filing
     this complaint or "incident" pursuant to the Whistleblower Act. C.L.I.C.K. is filing these incident reports, again,
     under the protection of the Whistleblower Act to prevent any retaliatory acts or nature thereof against this entity.
     Exhibit A clearly shows why C.L.I.C.K.'s grant application was denied submission. Exhibit B clearly shows how
     this JustGrants glitch/error could be corrected, which should have been provided to all grant applicants to avoid
     what happened to C.L.I.C.K. JustGrants was aware of this particular glitch and did nothing to prevent or correct
     it.

     NCJRS sent C.L.I.C.K. the attached exhaustive list of things (labeled 4/30/21) needed because of what they call
     "technical" errors. Is NCJRS suggesting or stating C.L.I.C.K. caused or is responsible for these "technical"
     errors? NCJRS requested a list of things as if they are investigating C.L.I.C.K. instead of fixing the JustGrants
     system. C.L.I.C.K. will not be the scapegoat in this mater. This is a public interest matter/case.

     The email chain attached demonstrates C.L.I.C.K.'s duty reporting the error/glitch in a timely manner and its
     attempt to correct the error, if given a chance, since obtaining Exhibit B. Yet, since reporting this glitch/error,
     JustGrants is acting like this is rocket science; sending C.L.I.C.K. through this lengthy processes of proving the
     glitch. C.L.I.C.K. needs to get this nonsense off its desk so it can concentrate on other business matters.
     Wherefore, C.L.I.C.K. submits the following documentation attached to support its claims and request its grant
     application portal re-opened as soon as possible so the processes of submitting is completed. Thank you.

     /s/Dr. Fred Nance Jr.
     Ph.D. Health & Human Services
     Social Policy Analysis and Planning



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     privileged and confidential information. If the reader of this message is not the intended recipient, or an
     employee or agent responsible for delivering this email message to the intended recipient, you are hereby
     notified that any dissemination, distribution, copying, or other use of the message or its attachments is strictly
     prohibited. If you have received this email message and its attachments if any, in error, please notify the sender
     immediately by replying to the message and please delete it from your computer. Thank you.
     Resolution
     junk email



                                                                                                                            1/2
5/8/2021   Case: 1:22-cv-03861 Document #: Yahoo
                                           11-11MailFiled:   11/14/22
                                                     - Incident# 524631 is Page
                                                                           closed. 21 of 25 PageID #:312


    Thank you,

    JustGrants Service Desk
    U.S. Department of Justice (DOJ)
    Phone: 1-833-872-5175
    Email: JustGrants.Support@usdoj.gov
    Service Desk Hours:
    Monday - Friday 5am-9pm
    Saturday, Sunday, and Federal holidays 9am-5pm




                                                                                                           2/2
5/8/2021    Case: 1:22-cv-03861      Document
                       Yahoo Mail - Re:              #: 11-11
                                        Response to your          Filed:
                                                         grant inquiry       11/14/22
                                                                       from the           PageJustice
                                                                                National Criminal 22 ofReference
                                                                                                         25 PageID       #:313
                                                                                                                 Service (NCJRS)




     Re: Response to your grant inquiry from the National Criminal Justice Reference Service
     (NCJRS)

     From: Dr. Fred L Nance Jr., Ph.D.                                 )

     To:    grants@ncjrs.gov
     Cc:

     Date: Wednesday, May 5, 2021, 07:48 PM CDT



     This delay in making a decision to open up my grant application so I can submit it is
     discriminating and disenfranchising me. I have been on Congressman Danny K. Davis' Second
     Chance Act Advisory Committee since 2007. I assisted in developing the language for the Second
     Chance Act Bill signed by President Bush on April 10, 2008. I have been a Peer Reviewer for
     Second Chance Act grants since 2009, examining and grading over 100 grant applications. I am
     considered for peer reviewing the BJA FY 21 Second Chance Act Community-Based Reentry
     Program solicitation, which I am aware I cannot peer review my own grant application or grant
     applications of individuals I may have a personal or professional relationship.

     My tentative peer reviewer orientation call for this Second Chance Act solicitation is June 4, 2021.
     Peer Reviewers will received grant proposals after the orientation call. Before a peer reviewer
     orientation call, BJA conducts their preliminary review of all grant applications to see if they meet
     the minimum requirement to proceed to Peer Review. This is happening now!

     The decision to open up my grant application in JustGrants should have happened days ago. The
     evidence I presented on April 27th and 28th for opening my grant application up is overwhelming.
     This is why I am reporting JustGrants is discriminating and disenfranchising C.L.I.C.K. Services,
     NFP. This violates DOJ, BJA, OJP discrimination policies.

     /s/Dr. Fred Nance Jr.
     Ph.D. Health & Human Services
     Social Policy Analysis and Planning



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     and any and all attachments transmitted with it are intended solely for the use of the addressee
     and may contain legally privileged and confidential information. If the reader of this message is
     not the intended recipient, or an employee or agent responsible for delivering this email message
     to the intended recipient, you are hereby notified that any dissemination, distribution, copying, or
     other use of the message or its attachments is strictly prohibited. If you have received this email
     message and its attachments if any, in error, please notify the sender immediately by replying to
     the message and please delete it from your computer. Thank you.


       On Wednesday, May 5, 2021, 05:04:56 PM CDT, <grants@ncjrs.gov> wrote:


       Dear Sir or Madam,

       The Response Center has received your request regarding Office of Justice Programs (OJP) funding, and it is


                                                                                                                                   1/5
5/8/2021      Case: 1:22-cv-03861      Document
                         Yahoo Mail - Re:              #: 11-11
                                          Response to your          Filed:
                                                           grant inquiry       11/14/22
                                                                         from the           PageJustice
                                                                                  National Criminal 23 ofReference
                                                                                                           25 PageID       #:314
                                                                                                                   Service (NCJRS)


       currently being processed. You should receive a response from an Information Specialist within one working day,
       depending on the complexity of your request.

       Thank you.

       ---------

       UPCOMING JUSTGRANTS SITE MAINTENANCE

       Due to planned DOJ financial management system upgrades, the Justice Grants System (JustGrants) will be
       unavailable for users from Friday, May 7, 2021 at 5:30 p.m. ET to Wednesday, May 12, 2021 at 5:30 a.m. ET.

       During this time, no grants management or application submission activities will be accessible in JustGrants. If you
       attempt to access the system, you will receive a service dashboard message.

       Access to JustGrants will be restored once the system is back online after 5:30 a.m. ET on May 12, 2021.

       To prepare for the system outage, it is advised that any time-sensitive action that needs to be completed in
       JustGrants is done as soon as possible. Any work on applications that is saved prior to the system being taken offline
       on May 7, 2021 at 5:30 p.m. will not be lost.


       ----- Original Message -----
       From: "Dr. Fred L Nance Jr., Ph.D."                         >
       Sent: Wednesday, May 5, 2021 9:54:36 PM GMT
       Subject: Re: Incident# 522329 - BJA FY 21 SCA Community Based Reentry Program

       >Mr. Ken Molter:
       >Good evening. When are you and/or your team going to open my grant application so I can submit it? I submitted
       sufficient documentation on April 28, 2021, as instructed by your email above, to support the JustGrants system error
       preventing me from submitting my grant application on April 27, 2021.
       >Please provide the reasoning for the delay in opening up my application so I can submit it. On or about April 28,
       2021, at 9:31 am, Mr. Al Roddy gave me instructions on how to correct the JustGrants system error in order to submit
       my application. Here is Mr. Al Roddy information, which was on the email he sent me:
       >Al Roddy
       >JustGrants Service Desk
       >U.S. Department of Justice (DOJ)
       >Phone: 1-833-872-5175
       >Email: JustGrants.Support@usdoj.gov
       >These instructions were not available to me during the submission processes. I started calling the JustGrants
       service desk on April 27, 2021 around 6:35 pm (CST). I was on hold (#18 in cue) until approximately 10:15 pm (CST).
       No one responded to my call. After no one responded to my call, I contacted the service desk (Incident #522329 or
       #522698). As stated earlier, the JustGrants system would not let me submit due to this message: "The Federal
       Estimated Funding (Federal Share) in the Standard Applicant Information screen does not match the Federal Funds
       in the Consolidated Category Summary screen." My federal share did match the consolidated category summary!
       Please respond and open up my application so I can submit it. Thank you.
       >
       >/s/Dr. Fred Nance Jr.
       >Ph.D. Health & Human Services
       >Social Policy Analysis and Planning
       >

       >
       >NOTICE: If you have received this e-mail message from Dr. Fred Nance Jr., the e-mail message, and any and all
       attachments transmitted with it are intended solely for the use of the addressee and may contain legally privileged
       and confidential information. If the reader of this message is not the intended recipient, or an employee or agent
       responsible for delivering this email message to the intended recipient, you are hereby notified that any
       dissemination, distribution, copying, or other use of the message or its attachments is strictly prohibited. If you have
       received this email message and its attachments if any, in error, please notify the sender immediately by replying to
       the message and please delete it from your computer. Thank you.
       >
       > On Wednesday, April 28, 2021, 11:00:39 AM CDT, <grants@ncjrs.gov> wrote:


                                                                                                                                     2/5
5/8/2021    Case: 1:22-cv-03861 Document
                             Yahoo                #: 11-11
                                   Mail - Re: Incident# 522329Filed:
                                                               - BJA FY11/14/22   PageBased
                                                                        21 SCA Community 24 ofReentry
                                                                                                25 PageID
                                                                                                      Program #:315




     Re: Incident# 522329 - BJA FY 21 SCA Community Based Reentry Program

     From: Dr. Fred L Nance Jr., Ph.D. (                         )

     To:    grants@ncjrs.gov

     Cc:
     Date: Thursday, May 6, 2021, 11:31 AM CDT



     Mr. Molter:

     Good morning. First, I want to thank you for responding. Second, I am not interested in future
     grant applications at this time. I want to have equal access to the Second Chance grant
     application processes I ascribed too, which includes non-discriminatory practices and policies.
     Third, I have been a Peer Reviewer for Second Chance Act grants since 2009. I get the updates I
     need. In addition, I am being considered to peer review the Second Chance Act grant
     applications. My orientation call is June 4, 2021. After the orientation call, we will have access to
     the grant applications for review. JustGrants has disenfranchised C.L.I.C.K. Services, NFP from
     this processes. If I am not chosen to peer review the Second Chance Act grant application I was
     chosen to do via email, I will assume this JustGrants process has discriminated against me and
     stop my peer review.

     Finally, JustGrants is aware of the many "unforeseen technical issues beyond a grant applicant's
     control." My issue is one of them. My issue is not rocket science. You state my issue is being
     reviewed by BJA leadership. Are you aware I have a pending lawsuit against DOJ, BJA, OJP?
     The litigation can be seen and reviewed on my Twitter page
     at: http://www.twitter.com/clickforjustice. I was a Whistleblower who was terminated.

     If C.L.I.C.K.'s issue goes south, I will supplement my litigation. If this is happening to me, it is
     happening to others. This is a public issue/matter/case. This is why I informed Congressman
     Danny K. Davis and the Ways and Means Committee/Appropriation Committee. I am not
     requesting you give me anything except a chance to compete with my peers and colleagues.
     Grant applicants who have suffered "unforeseen technical issues" with JustGrants and just
     dropped out after putting detailed and elaborate work must be heard by the public at large and the
     Congress. JustGrants cannot discriminate and disenfranchise companies and organizations.

     Respectfully submitted

     /s/Dr. Fred Nance Jr.
     Ph.D. Health & Human Services
     Social Policy Analysis and Planning



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     other use of the message or its attachments is strictly prohibited. If you have received this email


                                                                                                                      1/6
5/8/2021     Case: 1:22-cv-03861 Document
                              Yahoo                #: 11-11
                                    Mail - Re: Incident# 522329Filed:
                                                                - BJA FY11/14/22   PageBased
                                                                         21 SCA Community 25 ofReentry
                                                                                                 25 PageID
                                                                                                       Program #:316


     message and its attachments if any, in error, please notify the sender immediately by replying to
     the message and please delete it from your computer. Thank you.


       On Thursday, May 6, 2021, 09:20:59 AM CDT, <grants@ncjrs.gov> wrote:


       Hello Fred,

       Thank you for contacting the Response Center.

       The information that you originally provided was forwarded to Bureau of Justice Assistance (BJA) leadership for
       review on April 29, 2021. Because JustGrants is a new system, BJA is still looking into the technical issues that caused
       application submission problems. Someone from BJA will be in touch as soon as a decision has been made regarding your
       application. Unfortunately, we do not have a timeframe as to when to expect this decision.

       If you are interested in receiving additional information on future funding opportunities from the Bureau of Justice Assistance
       (BJA), please visit https://bja.ojp.gov/subscribe to subscribe to the 'NewsfromBJA' newsletter. The 'NewsfromBJA' newsletter
       contains information about new publications, BJA program highlights, funding opportunities, and other information of interest to
       BJA’s audience.

       Finally, you may also want to sign up to receive 'Grants & Funding News' to learn about solicitation releases, funding-related
       webinars, and more from our federal sponsors. Please visit following web page to subscribe to this newsletter:

       https://public.govdelivery.com/accounts/USDOJOJP_COMMS/subscriber/new?topic_id=USDOJOJP_COMMS_25

       Please let us know if you have any further questions.

       Thank you,

       Ken Molter
       Customer Service Team Leader

       ----------------------------------
       UPCOMING JUSTGRANTS SITE MAINTENANCE

       Due to planned DOJ financial management system upgrades, the Justice Grants System (JustGrants) will be unavailable for users
       from Friday, May 7, 2021 at 5:30 p.m. ET to Wednesday, May 12, 2021 at 5:30 a.m. ET.

       During this time, no grants management or application submission activities will be accessible in JustGrants. If you attempt to
       access the system, you will receive a service dashboard message.

       Access to JustGrants will be restored once the system is back online after 5:30 a.m. ET on May 12, 2021.

       To prepare for the system outage, it is advised that any time-sensitive action that needs to be completed in JustGrants is done as
       soon as possible. Any work on applications that is saved prior to the system being taken offline on May 7, 2021 at 5:30 p.m. will
       not be lost.

       ******************************************************
       Disclaimer: The enclosed response may include referrals to non-Federal Government resources. The resources, and
       the information contained therein, are only as reliable and complete as their originating source. Responsibility for the
       quality/accuracy of the information rests with the original source.

       On 5/5/21 5:54 PM, Ph.D. Fred Nance Jr. wrote:
               Mr. Ken Molter:

               Good evening. When are you and/or your team going to open my grant application so I
               can submit it? I submitted sufficient documentation on April 28, 2021, as instructed by

                                                                                                                                            2/6
